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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

OLEN M. BAILEY, JR., Individually
TERESA W. BAILEY, Individually; THE
BAILEY LAW FIRM, A Professional
Corporation,

 

Plaintiffs,
VS. NO. 04-2395 DP

DECK - White Station Tower, LLC;
DECK - White Station Manager, LLC;
KAUFMAN PROPERTIES, INC.;
KAUFMAN REALTY GROUP, LLC;
TRAMMEL CROW COMPANY, P.C.,
INC.; SANITORS, INC.; and
JOHN/JANE

DOES, Individually

Defendants and Third-Party Plajrltiff
VS.
D.L. SCHMITZ WATERPROOF[NG &
RESTORATION COMPANY, INC., and
KERMIT B. BUCK & SON, INC.,
Third-Party Defendants.,

Defendants.

 

ORDER GRANTING AN ENLARGMENT OF TIME FOR PLAINTIFFS TO RESPOND
TO SANITORS’ MOTION FOR SUMMARY JUDGMENT

 

On July 5, 2005, Defendants DECK-White Station Tower, LLC, DECK-White Station
Manager, LLC, Kaufman Properties, Inc. and Kaufman Realty Group, LLC, filed a motion for

enlargement of time within Which Plaintiffs may respond to the May 13, 2005 motion of

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W‘rth Rule 58 and/or 79{€1) FF\CP on 12 d §§

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defendant, Sanitors, Inc. for summary judgment On consideration of the motion and the
memorandum supporting the motion, including the lack of opposition by Plaintiffs or Sanitors,
Inc., the Court is of the opinion that the motion for an enlargement of time is well taken and
should be granted Therefore, it is

ORDERED, ADJUDGED AND DECREED that Plaintiffs are permitted to respond to
the May 13, 2005 motion of Sanitors, Inc. fur summary judgment at any time on or before
September 2, 2005.
ENTERED this _j: day ofJuly, 2005.

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DATE: 5 . J_S

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July l 1, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

